Case 1:04-cr-00097-LG-JMR   Document 74   Filed 04/10/06   Page 1 of 6
Case 1:04-cr-00097-LG-JMR   Document 74   Filed 04/10/06   Page 2 of 6
Case 1:04-cr-00097-LG-JMR   Document 74   Filed 04/10/06   Page 3 of 6
Case 1:04-cr-00097-LG-JMR   Document 74   Filed 04/10/06   Page 4 of 6
Case 1:04-cr-00097-LG-JMR   Document 74   Filed 04/10/06   Page 5 of 6
Case 1:04-cr-00097-LG-JMR   Document 74   Filed 04/10/06   Page 6 of 6
